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Exhibit 6 to Exhibit A

[Wrong Debtor, Modify Amount, Modify Priority and Modify Classification Claims]
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ENERGY FUTURE HOLDINGS CORP., et al.

TWENTY-THIRD OMNIBUS (SUBSTANTIVE): EXHIBIT 6 TO EXHIBIT A - Wrong Debtor, Modify Amount, Modify Priority and Modify Classification Claims

ASSERTED MODIFIED
PRIORITY CLAIM PRIORITY CLAIM
NAME CLAIM # DEBTOR STATUS AMOUNT DEBTOR STATUS AMOUNT
1 JOERWALLIS 1162 Energy Future Holdings Priority $715.52* | Luminant Generation 503(b)(9) $715.52

PO BOX 1590 Corp. Company LLC
FORT WORTH, TX 76101- Energy Future Holdings Secured. Undetermined*
1590 Corp.

Subtotal $715.52*

REASON FOR MODIFICATION: Modified Debtor reflects the Debtor(s) against which the claim is properly asserted according to the Debtors’ books and records. Modified
amount reflects liquidation of claim to reflect the amount owed according to Debtors' books and records. Modified priority reflects that, though priority asserted under 11 U.S.C. §
507(a), according to the Debtors books and records and/or documentation filed with the proof of claim, the claim is entitled to 503(b)(9) priority. Modified classification reflects
no evidence of perfected lien or security interest provided.

TOTAL $715.52* TOTAL $715.52

* - Indicates claim contains unliquidated and/or undetermined amounts Page J of 1
